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 8                         UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

10

11    MAYRA A. E. QUEZADA,                     Case No. CV 20-5553-PA(AS)

12                      Plaintiff,                      JUDGMENT
13          v.

14    KILOLO KIJAKAZI, Acting
      Commissioner of Social
15    Security,
16
                        Defendant.
17

18
           Pursuant to the Order Accepting Findings, Conclusions and
19
     Recommendations of United States Magistrate Judge, IT IS HEREBY
20
     ADJUDGED that Judgment is entered in favor of Defendant.
21

22
     DATED:      October 27, 2021
23

24                                              ___________    __________ ___
                                                       PERCY ANDERSON
25                                               UNITED STATES DISTRICT JUDGE

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